  Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1064 Page 1 of 6


  From: Medina, Francisco FMedina@nassco.com
Subject: RE: BHR - Nassco fire
   Date: October 6, 2020 at 4:46 PM
     To: Matt Matt@calmarineinc.com
    Cc: Josh Josh@calmarineinc.com


      Good afternoon,

      My apologies for the delayed response. However, I decided to look at not only the PO in
      place for the BHR work that Cal Marine was performing for NASSCO, but also all other
      PO that have been awarded to Cal Marine in search of special terms and condition that
      might have been applicable to type of work the company might have conducted over
      NASSCO’s contracts.

      After the review, all PO’s relevant to Cal Marine cite the Standard MIL-GEN Terms and
      Conditions at different revisions throughout the years. The specific TOC’s applicable to
      the BHR Cal Marine’s work being issued as of August 2, 2016 Rev P.

      This confirms what we had discussed regarding the insurance provisions provided to
      NASSCO as an additional insured under Cal Marine’s General Liability as stated in the
      attached COI. Cal Marine should tender its claim for the loss suffered during the fire of
      the Navy Vessel USS Bonhomme Richard (LHD-6) at the Navy Base on July 12, 2020,
      which rested under the care and custody of the US Navy at the time of the event.

      For reference, I have attached the NASSCO PO MUH753607 and the indemnity clause
      included as part of NASSCO’s Standard MIL-GEN Terms and Conditions applicable to
      this contract. NASSCO’s Terms and Condition can be found at the following link:
      https://nassco.com/suppliers/doing-business-with-us/terms-conditions/


      Please let me know if you have any questions.

      Regards,
      Francisco

                                          Francisco Medina Audit & Risk Manager
                                          General Dynamics NASSCO
                                          2798 East Harbor Drive, San Diego, CA 92113
                                          M/S 2MV-2C
                                             (619) 544-8696      fmedina@nassco.com


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      COPIES IN ANY FORM. THANK YOU IN ADVANCE FOR YOUR COOPERATION.


      From: Matt <Matt@calmarineinc.com>
      Sent: Tuesday, October 06, 2020 2:02 PM
      To: Medina, Francisco <FMedina@nassco.com>
      Cc: Josh <Josh@calmarineinc.com>
      Subject: RE: BHR - Nassco fire
                                                                            Exhibit D, Page 1 of 6
                                                                     EX 15 - 22cv741LABBLM - 1 of 6
Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1065 Page 2 of 6



   Good afternoon Mr. Medina. I am following up on this email that I sent on September
   22nd and the telephone conversation on September 23rd pertaining to the fire onboard
   the USS Bonhome Richard and the losses that Cal Marine sustained as a result. When
   we last spoke, you indicated that you needed to do some research to determine whether
   or not we (Cal Marine) would be compensated for our loss of equipment due to the fire
   either by the US Navy, or Nassco . As I am sure you are aware, all of the equipment we
   had onboard at the time of the fire was consumed by the fire and is a total loss in excess
   of $500,000 worth of equipment that we must now replace. I have notified my legal
   counsel and advised them that I am waiting for a response back from Nassco so we can
   determine our next steps moving forward. Please advise.
   V/R
   Matt

   Matt Carr
   Pres/CEO
   Cell: 619-813-0504
   Office: 619-231-8788
   matt@marinecleaning.com




   From: Matt <Matt@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 5:14 PM
   To: Fmedina@nassco.com
   Subject: Re: BHR - Nassco fire

   Good Afternoon Francisco. I tried sending you an email earlier this afternoon, but I am
   working from home on my iPad and I don’t see as where it went thru. My name is Matt
   Carr and I am the Pres/CEO of California Marine Cleaning, Inc.( Cal Marine) I have been
   given your name as the POC for filing a claim for losses sustained as a result of the fire
   on USS Bonhomme Richard. We previously submitted a list of equipment that we had
   onboard at the time of the fire. As far as we have been able to determine, it was a total
   loss. I/we need to know what it is that we need to do/what you need from us in order to
   file a claim.
   Please advise.
   V/R
   Matt
   Matt Carr
   Pres/CEO
   619-813-0504

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                                                                 Exhibit D, Page 2 of 6
                                                          EX 15 - 22cv741LABBLM - 2 of 6
Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1066 Page 3 of 6

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   From: matt@calmarineinc.com <matt@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 4:47 PM
   To: Fmedina@nassco.com
   Subject: Fwd: BHR - Nassco fire


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   From: matt@calmarineinc.com <matt@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 3:07 PM
   To: Josh
   Subject: Re: BHR - Nassco fire

   Ok, got it!

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   From: Josh <Josh@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 3:06:37 PM
   To: Matt <Matt@calmarineinc.com>
   Subject: RE: BHR - Nassco fire

   Yes this is what we have to go with and the list has been submitted to Nassco.

   Risk Management – Francisco Medina – 619-544-8696 – Fmedina@nassco.com



   Joshua Carr
   Vice President
   General Manager




   From: Matt <Matt@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 3:04 PM
   To: Josh <Josh@calmarineinc.com>
   Subject: Re: BHR - Nassco fire

   Ok, so this is all that we have to go with, is that correct?I believe we have already
   submitted this list to Nassco— Do you have a POC that i can contact?

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   From: Josh <Josh@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 2:54:13 PM
                                                                  Exhibit D, Page 3 of 6
                                                           EX 15 - 22cv741LABBLM - 3 of 6
Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1067 Page 4 of 6


   Sent: Tuesday, September 22, 2020 2:54:13 PM
   To: Matt <Matt@calmarineinc.com>
   Subject: RE: BHR - Nassco fire

   As of now, we have not been able to recover any equipment or inspect it to know what
   the status of the damage is. We are considering it a total loss as of now.

   Joshua Carr
   Vice President
   General Manager




   From: Matt <Matt@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 12:37 PM
   To: Josh <Josh@calmarineinc.com>
   Subject: Re: BHR - Nassco fire

   Yea, I think that is one I should take. Get me the info I need from Nassco to make a claim
   and I will take it for action. Thx J
   Matt

   Get Outlook for iOS

   From: Josh <Josh@calmarineinc.com>
   Sent: Tuesday, September 22, 2020 12:13:40 PM
   To: Matt <Matt@calmarineinc.com>
   Subject: BHR - Nassco fire

   Just spoke with NASSCO. They are telling us we need to file a claim for any and all
   equipment lost on the BHR fire. Would you like to take this for action?

   Joshua Carr
   Vice President
   General Manager



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                                                                Exhibit D, Page 4 of 6
                                                         EX 15 - 22cv741LABBLM - 4 of 6
Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1068 Page 5 of 6

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                                                                  Exhibit D, Page 5 of 6
        PO           Indemnity &       California          EX 15 - 22cv741LABBLM - 5 of 6
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Case 3:22-cv-00741-JO-BLM Document 37-5 Filed 02/12/24 PageID.1069 Page 6 of 6




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                                                          Exhibit D, Page 6 of 6
                                                   EX 15 - 22cv741LABBLM - 6 of 6
